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                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF OKLAHOMA



VANCE DOTSON                               )JURY TRIAL DEMANDED
           Plaintiff,                      )
                                           )
V.                                         ) Case No. CIV-22-029-D
                                           )
TRANSWORLD SYSTEMS INC., and               )
WORKS & LENTZ,INC., and BULL CITY )
FINANCIAL SOLUTIONS and PHOENIX )
FINANCIAL SERVICES, LLC., and
HEALTHCARE REVENUE RECOVERY
GROUP,LLC;, dA)/a ARS ACCOUNT                                   MAR 07 2022
RESOLUTION SERVICES.,                                   CARMELITA REEDER SHINN, CLERK
                                                       U.S.DtST.Cp^.WESTERN DIST. OKLA.
                                                                               DEPUTY
                                                       BY-

            Defendant.




 NOTICE OF SETTLEMENT WITH BULL CITY FINANCIAL SOLUTIONS



     Plaintiff, Vance Dotson, pursuant to Rule 4l(a)(l)(A)(ii), has reached a

settlement agreement and need approximately thirty (30) days to fulfill the

settlement terms and file dismissal papers pursuant to Fed. R. Civ. P.

4l(a)(l)(A)(ii).;The Parties consent to a stay of pending deadlines herein. May

the Court so enter an Order or direct the Parties to formally move with

respect thereto. This action remains open with Phoenix Financial Services,
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LLC., Works and Lentz,Inc., and Healthcare Revenue Recovery Group, LLC.,
d/b/a AKS Account Resolution Services.


Dated- March 5, 2022




     IdiACi.
Vance Dotson ^
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